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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION



IN RE: AMERICAN MEDICAL SYSTEMS, INC.
       PELVIC REPAIR SYSTEMS
       PRODUCT LIABILITY LITIGATION                              MDL No. 2325



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THIS DOCUMENT RELATES TO ALL CASES



                                PRETRIAL ORDER # 88
                     (Motion to Quash and Motion for Protective Order)


        Pending before the court are Plaintiffs’ Motions to Quash Third-Party Subpoenas

to MedStar Funding, One Point Orthopedic and Neurosurgical Group and Otto Fisher,

(ECF Nos. 870, 872), and Motion to Quash Subpoenas Issued to Nonparties and Motion

for Protective Order, (ECF No. 879). Defendant, American Medical Systems, Inc.

(“AMS”) filed an omnibus response, (ECF No. 892), which was adopted by Ethicon, Inc.

(ECF No. 893). Subsequently, Plaintiffs withdrew their motions, leaving before the court

only the motions of nonparties, MedStar Funding (“MedStar”) and Daniel Christensen

(“Christensen”), to quash and for a protective order. MedStar and Christensen filed a

reply memorandum in support of their motions. (ECF No. 908). Therefore, the issues

have been fully briefed.

        On October 10, 2013, the undersigned conducted a hearing on the motions to

quash and for a protective order. The parties were represented by counsel, as were


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MedStar and Christensen. After considering the arguments of counsel, the court

DENIES Plaintiffs’ Motions to Quash Third-Party Subpoenas to MedStar Funding, One

Point Orthopedic and Neurosurgical Group and Otto Fisher, as they have been

withdrawn, (ECF Nos. 870, 872); DENIES the Motion to Quash of MedStar and

Christensen, but GRANTS their Motion for Protective Order as outlined below. (ECF

No. 879).

I.      Relevant History

        This multidistrict litigation involves surgical mesh products designed,

manufactured, marketed, and sold by AMS to treat pelvic organ prolapse and stress

urinary incontinence. AMS recently learned from a surgical consultant that an

entrepreneur by the name of Otto Fisher (“Fisher”) is soliciting surgeons to perform

mesh revision and removal surgeries on Plaintiffs in this and other pelvic mesh

litigation. According to the information received by AMS, Fisher is associated in this

endeavor with MedStar, a medical receivables factoring company operated by

Christensen that specializes in the purchase and collection of personal injury and

workers compensation accounts receivable. After hearing statements allegedly made by

Fisher to the surgical consultant, AMS grew concerned that Fisher and his business

entity, One Point Orthopedic and Neurosurgical Group,1 and Christensen, through

Medstar, were part of a “scheme” to arrange unnecessary surgeries and create

fraudulent medical records designed to increase the value of the pelvic mesh cases

before this court. Consequently, AMS served subpoenas for the production of

documents on the two business entities and additional subpoenas commanding the



1According to Christensen, he knows Fisher to be a representative of an entity called Physicians Surgical
Group (“PSG”).

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presence of Fisher and Christensen at depositions. Fisher and his business entity

reportedly have not opposed the subpoenas and are in the process of complying with

them. Christensen and MedStar, on the other hand, object to the subpoenas on the basis

that they are overly broad and burdensome and seek confidential and proprietary

information.

II.   Jurisdiction of the Court

      Although none of the interested parties has asserted that this court lacks

authority to quash or modify the subpoenas, the matter of jurisdiction should be

addressed at the outset. Fed.R.Civ.P. 45(c)(3)(A) allows, and in certain circumstances

requires, “the issuing court” to quash or modify a subpoena. The text of the rule is clear

“that a motion to quash or modify a subpoena must be brought in the court from which

the subpoena was issued, rather than the court where the underlying action is pending.”

First Time Videos LLC v. John Doe, Case No. 2:11-cv-690, 2012 WL 1134736, at*1

(E.D.Va., Apr. 4, 2012); See also In Re Subpoena of American Nurses Association, 788

F.Supp.2d 444, 445 (D.Md. 2011) (citing United States v. Star Scientific, Inc., 205

F.Supp.2d 482, 485 (D.Md.2002)). In this case, the subpoenas in dispute were issued by

the United States District Court for the Western District of Texas. Consequently, a

motion to quash the subpoenas would normally be filed in that court.

      However, under 28 U.S.C. § 1407, a court presiding over multidistrict litigation

may “exercise the powers of a district judge in any district for the purpose of conducting

pretrial depositions in such coordinated or consolidated pretrial proceedings” (emphasis

added). Courts have specifically held that the authority granted to a presiding court

under § 1407 extends to other pretrial matters, such as the production of documents,

“even when the subpoena is not issued in conjunction with a deposition.” In re

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Genetically Modified Rice Litigation, Case 4:06-MD-1811 CDP, 2009 WL 3164425, *1

(E.D.Mo. Sept. 28, 2009)(collecting cases). Indeed, “the rationale underlying the MDL

statute of ‘just and efficient’ resolution of pretrial proceedings requires the conclusion

that Section 1407(b)'s grant of authority applies to both deposition subpoenas and

documents-only subpoenas.” In re Neurontin Marketing, Sales Practices, and Product

Liability Litigation, 245 F.R.D. 55, 58 (D.Mass. 2007) (quoting U.S. ex rel. Pogue v.

Diabetes Treatment Centers of America, 444 F.3d 462, 469 n.4 (6th Cir. 2006)). Thus, a

presiding court “may compel production by an extra-district nonparty; enforce, modify,

or quash a subpoena directed to an extra-district nonparty; and hold an extra-district

nonparty deponent in contempt, notwithstanding the nonparty’s physical situs in a

foreign district where discovery is being conducted.” Id. (quoting U.S. ex rel. Pogue, 444

F.3d at 468-69 (6th Cir. 2006)). Consequently, this court has jurisdiction to quash or

modify the subpoenas served on Christensen and MedStar.

       Furthermore, motions for protective order should be brought “in the court where

the action is pending—or as an alternative on matters relating to a deposition, in the

court for the district where the deposition will be taken.” Fed.R.Civ.P. 26(c). Here,

Christensen and MedStar have moved for a protective order in the district where the

litigation is pending. Accordingly, this court likewise has jurisdiction over the motion for

protective order.

III.   Discussion

       In regard to the motion to quash the subpoena commanding Christensen to

appear for deposition, the parties agreed at the hearing that Christensen would make

himself available for testimony. Therefore, the motion to quash the subpoena is

DENIED. Christensen complains, however, that AMS did not provide him with

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sufficient notice to comply with the subpoena and seeks a protective order specifying the

terms of his deposition. The undersigned GRANTS Christensen’s motion and

ORDERS the parties to meet and confer with Christensen and agree upon a mutually

convenient date, time, and location for his deposition.

       Turning next to the subpoena for the production of documents, MedStar reports

that it is willing to produce a portion of the documents requested in the subpoena, but

seeks limitations on the scope and extent of the production. In view of MedStar’s

agreement to comply, at least in part, with the subpoena, the court DENIES its motion

to quash. Nonetheless, the undersigned agrees with MedStar that the subpoena is overly

broad and burdensome and threfore GRANTS its motion for a protective order. AMS

has a legitimate basis upon which to explore the allegations of the surgical consultant.

At the same time, MedStar has the right to be protected from discovery that is

oppressive and burdensome. Until some discovery is conducted into the alleged scheme

between Fisher and Christensen (and/or PSG and MedStar), wholesale discovery of

MedStar’s files is not merited.

       AMS supplied MedStar with approximately 20,000 names of Plaintiffs in this

litigation and demanded that MedStar search its accounts looking for documents related

to pelvic mesh and the named Plaintiffs. MedStar claims that conducting this search will

require manual review of a large portion of its accounts, which number in the

thousands. MedStar further argues that it is a small company with only five employees;

therefore, completing this task will result in significant interruption of its business

operations. MedStar contends that only a small percentage of its business involves

treatment related to pelvic mesh, and receivables purchased from physicians under

contract with Fisher constitute an even smaller percentage. MedStar emphasizes that

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the allegations of fraud made by AMS specifically involve Fisher and his company.

Consequently, AMS fails to state a valid basis for demanding records from accounts that

have no connection to Fisher.

       In response, AMS argues that Otto Fisher may be one of many entrepreneurs

contracting with surgeons to perform mesh revision and removal surgeries for litigation

purposes. Accordingly, MedStar is potentially involved in multiple schemes. In AMS’s

view, the only way to determine which Plaintiffs, if any, were scheduled for

revision/removal surgeries for the purpose of increasing the value of their claims is to

seek discovery relevant to each individual Plaintiff. Accordingly, if discovery is limited to

those Plaintiffs involved with Fisher, AMS is denied the opportunity to fully expose

fraudulent records and unnecessary surgeries financed by MedStar.

       Balancing the legitimate needs of the parties and nonparties, the court concludes

that, at this time, AMS is entitled to receive the documents in MedStar’s possession

related to Fisher, PSG, and any other entity operated by Fisher, to the extent that the

documents involve, arise from, or are pertinent to treatment rendered to or arranged for

Plaintiffs in this litigation. The court therefore ORDERS MedStar to produce all such

documents within ten (10) days of the date of this Order. If the documents and

deposition of Christensen demonstrate grounds for AMS to obtain additional records

from MedStar, AMS shall meet and confer with MedStar in an effort to agree on the

scope and extent of the additional discovery.

       MedStar’s final concern involves the production of proprietary and confidential

materials. MedStar argues that medical receivables factoring is a highly competitive

business. As such, MedStar has devoted considerable time and resources developing its

business model and drafting the documents it uses to purchase the accounts receivable.

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According to MedStar, if its work product is disclosed, MedStar’s competitors can use

the information to enter the market or strengthen their existing market position. In

addition, Medstar claims that disclosure of its pricing structure would allow MedStar’s

competitors to outbid MedStar or steal away its provider accounts.

      Fed.R.Civ.P. 26(c)(1)(G) allows the court to order that trade secrets or other

confidential research, development, or commercial information “not be revealed or be

revealed only in a specified way.” To merit protection under Rule 26(c)(1)(G),

commercial information must be more than just routine business data; instead, it must

be important proprietary information that provides the business entity with a financial

or competitive advantage when it is kept secret and results in financial or competitive

harm when it is released to the public. Gonzales v. Google, Inc., 234 F.R.D. 674, 684

(N.D.Cal. 2006); see also Diamond State Ins. Co. v. Rebel Oil Co., Inc., 157 F.R.D. 691,

697 (D.Nev. 1994) (“Confidential commercial information” is “information, which

disclosed, would cause substantial economic harm to the competitive position of the

entity from whom the information was obtained.”). Examples of confidential

commercial information entitled to protection under Rule 26(c) include customer lists

and revenue information, Nutratech, Inc., v. Syntech Intern, Inc., 242 F.R.D. 552, 555

(N.D.Cal. 2007); product design and development and marketing strategy, Culinary

Foods, Inc. v. Raychem Corp., 151 F.R.D. 297, 305 (D.Ill. 1994); labor costs, Miles v.

Boeing, 154 F.R.D. 112, 114 (E.D.Pa. 1994); and commercial financial information,

Vollert v. Summa Corp., 389 F.Supp 1348, 1352 (D.Hawaii 1975). Moreover, “[p]ricing

and marketing information are widely held to be confidential business information that

may be subject to a protective order.” Uniroyal Chem. Co. Inc. v. Syngenta Crop Prot.,

224 F.R.D. 53, 57 (D.Conn. 2004) (citing Vesta Corset Co. v. Carmen Foundations, Inc.,

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1999 WL 13257, at *2 (S.D.N.Y. 1999)).

       The undersigned suspects that some of the material requested by AMS is

proprietary commercial information subject to protection. However, without seeing the

materials, the undersigned is unable to assess the level of protection that is appropriate.

Therefore, AMS, Plaintiffs, and MedStar are ORDERED to meet and confer on the

terms and conditions of a protective order that will govern the use and disclosure of

MedStar’s documents. To the extent they are applicable, the terms and conditions of

prior protective orders entered in this litigation shall be adopted and incorporated in

any new protective order tendered to the court.

       The court DIRECTS the Clerk to file a copy of this order in 2:12-md-2325 and it

shall apply to each member related case previously transferred to, removed to, or filed in

this district, which includes counsel in all member cases up to and including civil action

number 2:13-cv-25158. In cases subsequently filed in this district, a copy of the most

recent pretrial order will be provided by the Clerk to counsel appearing in each new

action at the time of filing of the complaint. In cases subsequently removed or

transferred to this court, a copy of the most recent pretrial order will be provided by the

Clerk to counsel appearing in each new action upon removal or transfer. It shall be the

responsibility of the parties to review and abide by all pretrial orders previously entered

by the court. The orders may be accessed through the CM/ECF system or the court’s

website at http://www.wvsd.uscourts.gov.

                                                  ENTERED: October 11, 2013.




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